                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



IN RE THE FIRST MARBLEHEAD                        LEAD CASE NO. 08-10612-JT
CORPORATION SECURITIES                            Judge Joseph L. Tauro
LITIGATION



DECLARATION OF RYAN P. PHAIR IN SUPPORT OF DEFENDANTS’ MOTION TO
      DISMISS PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT

       I, Ryan P. Phair, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.      I am an attorney at the law firm of Wilmer Cutler Pickering Hale & Dorr LLP,
counsel for Jack L. Kopnisky, John A. Hupalo, Peter B. Tarr, William Baumer, Donald R. Peck,
Stephen E. Anbinder, Leslie L. Alexander, William R. Berkley, and The First Marblehead
Corporation (“FMD”) (collectively, “Defendants”).

     2.     I submit this Declaration in support of Defendants’ Motion to Dismiss Plaintiffs’
Amended Class Action Complaint in the above-captioned matter.

       3.      Attached hereto are true and correct copies of the following documents, which are
referenced in the Memorandum of Law in Support of Defendants’ Motion to Dismiss Plaintiffs’
Amended Class Action Complaint:

A.     The First Marblehead Corporation SEC Filings

       Exhibits 1-17 were obtained from FMD’s public Internet database of SEC filings. This
       database is located under “SEC Filings” in the “Investor” section of the FMD website:
       http://phx.corporate-ir.net/phoenix.zhtml?c=147457&p=irol-sec.

       EXHIBIT 1.            Form 10-K (filed September 15, 2004). The First Marblehead
                             Corporation, Annual Report for the Fiscal Year Ended June 30,
                             2004 (excerpts).

       EXHIBIT 2.            Form 10-K (filed September 7, 2005). The First Marblehead
                             Corporation, Annual Report for the Fiscal Year Ended June 30,
                             2005 (excerpts).

       EXHIBIT 3.            Form 10-K (filed September 12, 2006). The First Marblehead
                             Corporation, Annual Report for the Fiscal Year Ended June 30,
                             2006.
EXHIBIT 4.    Form 10-K (filed August 28, 2007). The First Marblehead
              Corporation, Annual Report for the Fiscal Year Ended June 30,
              2007 (excerpts).

EXHIBIT 5.    Form 10-K (filed August 29, 2008). The First Marblehead
              Corporation, Annual Report for the Fiscal Year Ended June 30,
              2008 (excerpts).

EXHIBIT 6.    Form 10-Q (filed May 10, 2006). The First Marblehead
              Corporation, Quarterly Report for the Period Ended March 31,
              2006 (excerpts).

EXHIBIT 7.    Form 10-Q (filed November 8, 2006). The First Marblehead
              Corporation, Quarterly Report for the Period Ended September 30,
              2006 (excerpts).

EXHIBIT 8.    Form 10-Q (filed February 8, 2007). The First Marblehead
              Corporation, Quarterly Report for the Period Ended December 31,
              2006 (excerpts).

EXHIBIT 9.    Form 10-Q (filed May 10, 2007). The First Marblehead
              Corporation, Quarterly Report for the Period Ended March 31,
              2007 (excerpts).

EXHIBIT 10.   Form 10-Q (filed February 11, 2008). The First Marblehead
              Corporation, Quarterly Report for the Period Ended December 31,
              2007 (excerpts).

EXHIBIT 11.   Form 8-K (filed August 21, 2006). The First Marblehead
              Corporation, Current Report of Material Events or Corporate
              Changes (excerpts).

EXHIBIT 12.   Form 8-K/A (filed February 1, 2008). The First Marblehead
              Corporation, Amendment to Current Report of Material Events or
              Corporate Changes and accompanying exhibits.

EXHIBIT 13.   Form 4 (Anbinder) (filed November 22, 2006). Statement of
              Changes in Beneficial Ownership.

EXHIBIT 14.   Form 4 (Alexander) (filed December 6, 2006). Statement of
              Changes in Beneficial Ownership.

EXHIBIT 15.   Form 4 (Alexander) (filed December 18, 2006). Statement of
              Changes in Beneficial Ownership.




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     EXHIBIT 16.           Form 4 (Berkley) (filed February 12, 2007). Statement of
                           Changes in Beneficial Ownership.

     EXHIBIT 17.           Form 4 (Anbinder) (filed October 22, 2007). Statement of
                           Changes in Beneficial Ownership.

B.   National Collegiate Student Loan Trust SEC Filings

     Exhibits 18-23 were obtained from FMD’s public Internet database of SEC filings. This
     database is located under “Asset-Backed Securities” in the “Investor” section of the FMD
     website: http://phx.corporate-ir.net/phoenix.zhtml?c=147457&p=irol-abslist.

     EXHIBIT 18.           National Collegiate Student Loan Trust 2006-3 Prospectus
                           (September 26, 2006). National Collegiate Student Loan Trust
                           2006-3 Prospectus Supplement dated September 26, 2006 &
                           Prospectus dated September 7, 2006.

     EXHIBIT 19.           National Collegiate Student Loan Trust 2006-4 Prospectus
                           (December 5, 2006). National Collegiate Student Loan Trust
                           2006-4 Prospectus Supplement dated December 5, 2006 &
                           Prospectus dated September 7, 2006 (excerpts).

     EXHIBIT 20.           National Collegiate Student Loan Trust 2007-1 Prospectus
                           (March 7, 2006). National Collegiate Student Loan Trust 2007-1
                           Prospectus Supplement dated March 7, 2007 & Prospectus dated
                           September 7, 2006 (excerpts).

     EXHIBIT 21.           National Collegiate Student Loan Trust 2007-2 Prospectus
                           (June 12, 2007). National Collegiate Student Loan Trust 2007-2
                           Prospectus Supplement dated June 12, 2007 & Prospectus dated
                           June 12, 2007 (excerpts).

     EXHIBIT 22.           National Collegiate Student Loan Trust 2007-3 Prospectus
                           (September 19, 2007). National Collegiate Student Loan Trust
                           2007-3 Prospectus Supplement dated September 19, 2007 &
                           Prospectus dated September 17, 2007 (excerpts).

     EXHIBIT 23.           National Collegiate Student Loan Trust 2007-4 Prospectus
                           (September 19, 2007). National Collegiate Student Loan Trust
                           2007-4 Prospectus Supplement dated September 19, 2007 &
                           Prospectus dated September 17, 2007 (excerpts).

C.   News Articles

     Exhibit 24 was obtained from the USA Today’s public Internet website at:
     http://www.usatoday.com/news/education/2009-01-24-financial-aid_N.htm.



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     EXHIBIT 24.           “College Financial Aid System ‘in Crisis,’” USA Today
                           (January 24, 2009).

     Exhibit 25 was obtained from The Economist’s public Internet website at:
     http://www.economist.com/displaystory.cfm?story_id=10689043.

     EXHIBIT 25.           “Fear and Loathing, and a Hint of Hope,” The Economist
                           (February 14, 2008).

D.   Stock Price Information

     Exhibit 26 was obtained directly from Yahoo Finance’s public Internet website at
     http://finance.yahoo.com/q?s=fmd and exported to the attached chart.

     EXHIBIT 26.           FMD Closing Prices (January 9, 2007; March 26, 2007;
                           October 31, 2007; November 23, 2007; November 26, 2007;
                           November 30, 2007; December 10, 2007).

E.   FORM 10-Ds

     Exhibits 27-32 were obtained from Securities Mosaic, a free, publicly available online
     financial information provider who reproduces PDF versions of SEC filings pulled
     directly from the SEC’s publicly available EDGAR database. The Securities Mosaic
     website can be located at http://www.knowledgemosaic.com.

     EXHIBIT 27.           National Collegiate Student Loan Trust 2006-3 Form 10-D
                           (filed December 28, 2006). The National Collegiate Student Loan
                           Trust 2006-3 Periodic Report for the Period Ending December 25,
                           2006.

     EXHIBIT 28.           National Collegiate Student Loan Trust 2006-3 Form 10-D
                           (filed January 29, 2007). The National Collegiate Student Loan
                           Trust 2006-3 Periodic Report for the Period Ending January 24,
                           2007.

     EXHIBIT 29.           National Collegiate Student Loan Trust 2006-3 Form 10-D
                           (filed March 27, 2007). The National Collegiate Student Loan
                           Trust 2006-3 Periodic Report for the Period Ending March 25,
                           2007.

     EXHIBIT 30.           National Collegiate Student Loan Trust 2006-3 Form 10-D
                           (filed May 1, 2007). The National Collegiate Student Loan Trust
                           2006-3 Periodic Report for the Period Ending April 24, 2007.




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       EXHIBIT 31.            National Collegiate Student Loan Trust 2006-3 Form 10-D
                              (filed June 29, 2007). The National Collegiate Student Loan Trust
                              2006-3 Periodic Report for the Period Ending June 24, 2007.

       EXHIBIT 32.            National Collegiate Student Loan Trust 2006-3 Form 10-D
                              (filed July 31, 2007). The National Collegiate Student Loan Trust
                              2006-3 Periodic Report for the Period Ending July 24, 2007.

        4.      All of the above-referenced documents are either publicly available, referenced in
Plaintiffs’ Amended Class Action Complaint, and/or capable of accurate and ready determination
by resort to sources whose accuracy cannot reasonably be questioned.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed: February 9, 2009



                                                             /s/ Ryan P. Phair
                                                             Ryan P. Phair
                                                             Attorney for Defendants
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